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                             UNITED STATES DISTRICT COURT
                                              DISTRICT OF ARIZONA


     UNITED STA TES OF AMERICA
                                                           CRIMINAL COMPLAINT
                                  v.
       1. Naomi Bistline;
       2. Donnae B arlow; and                              CASE NUMBER: 22-4427-MJ-CDB
       3. Moretta Rose Johnson

           I, the undersigned complainant, being duly sworn, state the following is true and
    correct to the best of my knowledge and belief:
                                                       COUNT 1
           On or between November 27, 2022 and December 1, 2022, in the District of Arizona, the
    defendants, NAOMI BISTLINE, DONNAE BARLOW, MORETTA ROSE JOHNSON, and others
    known and unknown, did corruptly obstruct, influence, and impede a foreseeable prosecution before a
    Court of the United States, an official proceeding, and attempted and conspired to do so.

              In violation of Title 18, United States Code, Sections 1512(c)(2) and (k), and 2.

                                                       COUNT2
            On or between November 27, 2022 and December 1, 2022, in the District of Arizona, the
    defendants, NAOMI BISTLINE, DONNAE BARLOW, MORETTA ROSE JOHNSON, and others
    known and unknown, unlawfully seized, confined, inveigled, decoyed, kidnapped, and abducted Jane
    Does 3, 4, 5, 7, 8, 9, 10 and 11, and held them for another purpose (to wit: to take them out of Arizona
    Department ofChild Safety custody and evade law enforcement), and the defendants transported or caused
    the victims to be transported across state lines, and used facilities of interstate and foreign commerce in
    committing the offense.
                         In violation ofTitle 18, United States Code, Sections 1201(a)(l ), (b), and (c), and 2 .
           I further state that I am a Special Agent with the Federal Bureau of Investigation, and that
    this Complaint is based on the following facts: SEE ATTACHED AFFIDAVIT.
    Continued on the attached affidavit and made a part hereof:                  C8'.J               Yes              D          No
                                                                  DIMITRA            01011.i1yw,g~   byCIMITIIA$i\MPSON
    REVIEWED BY: Is AUSA Dimitra H Sampson SAMPSON                                   ~••:201l. 1J.Oll7:G9:Q3.07'00'




    _x_ Pursuant to 28 U.S.C. § 1746(2), I declare that the foregoing is true and correct.
                                                                                                                          DigltallyslgnedbyDAWNMARTIN

Dawn A. Martin, Special Agent FBI                                            DAWN MARTIN Date: 2022.12.01 17:44:35 •07'00'
Complainant's Name and Title                                                Complainant's Signature                                           Date


                                                                            Flagstaff, Arizona
Date/Time                                                                   City and State
                                                                                                                           D igitally signed by Camille D.
Hon. Camille D. Bibles                                                      Camille D. Bibles Bi bles
                                                                                                                           Date: 2022.12.01 18:17:47 •07'00'
United States Magistrate Judge
Name & Title of Judicial Office                                             Signature of Judicial Officer
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 1                               AFFIDAVIT IN SUPPORT OF PROBABLE CAUSE
2                   Your affiant, Dawn A Martin, a Special Agent with the Federal Bureau oflnvestigation (FBI),
3    being duly sworn, deposes and states as follows:

 4                          INTRODUCTION AND INVESTIGATION BACKGRUOND

 5          The investigation in this case, as more fully detailed herein, has resulted in probable cause to believe

6    that Samuel Rappylee Bateman (Bateman), as well as his coconspirators and aiders and abettors, have engaged

7 in the transportation of minors in interstate commerce to engage in criminal sexual activity, and travel in
 8   interstate commerce to engage in illicit sexual conduct with minors, between May 2020 and November 2021,

 9   between Arizona, Utah, Nevada and Nebraska, in violation of Title 18, United States Code, Sections 2423(a)

10   and (b). Furthermore, the investigation has resulted in probable cause to believe that on or about August 28,

11   2022, Bateman, with aiders and abettors, has committed obstruction of justice by: destroying or aiding and

12   abetting the destruction of records in an official proceeding, or attempting to do so, in violation of Title 18,

13   United States Code, Section 1512(c)(1) and 2; tampering with an official proceeding, or attempting to do so,

14   in violation of Title 18, United States Code, Section 1512(c)(2); and destroying records, or aiding and abetting

15   their destruction, in a federal proceeding, in violation of Title 18, United States Code, Section 1519 and 2.

16   Bateman was indicted on these violations on September 6, 2022 in CR-22-08092-PCT-DGC (ESW). Finally,
17 and most recently, the investigation has resulted in probable cause to believe that on or between November 27,
18   2022 and December I, 2022, Naomi Bistline (Bistline), Donnae Barlow (Barlow), and Moretta Rose Johnson

19   (Johnson), with aiders and abettors, have committed and conspired to commit obstruction of justice by:

20   tampering with an official proceeding, or attempting to do so, in violation of Title 18, United States Code,

21   Sections 1512(c)(2) and (k), and 2; and kidnapping, in violation of Title 18, United States Code, Sections

22   120l (a)(l), (b), and (c), and 2.

23                                            AGENT BACKGROUND

24           1.      I, Dawn A. Martin, have been employed as a Special Agent of the Federal Bureau of

25   Investigation (FBI) since April of 2004, and am currently assigned to the Phoenix Field Office, Flagstaff

26   Resident Agency. I am assigned to conduct investigations pursuant to the FBI's Crimes Against Children and

27   Human Trafficking Initiative. I have received basic and on-the-job training in the investigation of cases
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1      involving the sexual exploitation of children. The statements contained in this Affidavit are based on my
2      experience and background as a Special Agent and on information provided by other law enforcement agents.

3      As a federal agent, I am authorized to investigate violations of United States laws and to execute warrants

4      issued under the authority of the United States.
·5            2.      Because this Affidavit is being submitted for the limited purpose of demonstrating probable

6      cause for arrest warrants, I have not included each and every fact known to me or the FBI concerning this

7      investigation. I have set forth only those facts that I believe are necessary to establish probable cause that

8      Naomi Bistline, Donnae Barlow, and Moretta Rose Johnson have committed, aided and abetted, and conspired

 9     to commit violations ofTitle 18, United States Code, Sections 15 12(c)(2) and (k), and 2; and violations of Title

10     18, United States Code, Sections 1201 (a)( 1), (b), and (c), and 2.

11                                                  PROBABLE CAUSE

12                                               Details of the Investigation

13             3.     The Fundamentalist Church of Jesus Christ of Latter-Day Saints (FLDS) is a subset of the

14     fundamentalist Mormon denominations whose members practice polygamy. The FLDS Church traces its
15     origins to the 1950s in the Short Creek community (now the twin cities of Hildale, Utah and Colorado City,

16     Arizona).
17             4.     Colorado City has a population of approximately 2,500 people, according to the 2020 Census,

18     and has a total area of just over nine (9) square miles.

19             5.      Samuel Bateman (Bateman), born in 1976, is a self-proclaimed Prophet of the FLDS church.

20     Bateman has approximately 50 followers and over 20 wives, many of whom are minors, mostly under the age

21     of 15. Bateman allegedly has "impressions of Heavenly Father's will" to encourage his followers, including

22     the minor children, to engage in sexual acts and relies on that submission to do his own wil l.

23             6.      In 2019, Bateman began to proclaim he was a prophet, translated from Warren Jeffs (whom

24      Bateman and his followers often refer to as "Uncle Warren"). Jeffs was the former leader ofthe FLDS church.

25      He was reported to have up to 78 wives, including minors. In 2006, Jeffs was on the FBis Ten Most Wanted

26      List for his flight from charges that he arranged illegal marriages between his adult male fo llowers and

27      underage girls in Utah. Jeffs was charged with multiple crimes involving the sexual assault of minors in three
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1    states: Arizona, Utah and Texas. He is currently serving a life sentence for sexually assaulting some of his

2    underage wives.

3           7.     In 2019, Bateman was married to only one woman, LB. Bateman and LB had one daughter,

4    born in 2005, Jane Doe # 1 (JD# l ). 1 Bateman first proclaimed a feeling that he should take his own daughter,

5    JD#l, as his w ife, as will be described more fully below. After LB left him and refused to allow him to take

6    JD#l, Bateman began to take more wives, both young and old. Bateman has several male followers, including

7    Moroni Johnson, Torrance Bistline, and LaDell Bistline, Jr., all more fully described below. Bateman's

 8   followers fund Bateman as he does not work.

9           8.      Moroni Johnson (Moroni) is the owner of his own fabrication company. Moroni was married

10   to JJ, AB, PB and ZB, although at least one of these w ives has since been acquired or taken by Bateman.

11   Moroni and JJ have five daughters, MJ, an adult, SJ, an adult, Jane Doe #2 (previously referenced as JD#2;

12   hereinafter, Johnson), born in 2003, Jane Doe #3 (JD#3), born in 2006, and Jane Doe #4 (JD#4), born in 2009,

13   all of whom have since been acquired or taken as wives by Bateman.2 Moroni and AB have two daughters

14   Jane Doe #5 (JD#5), born in 2007, and Jane Doe #6 (JD#6), born in 2010, both of whom have been acquired

15   or taken as wives by Bateman. Moroni and PB have no daughters. PB had previously been married to IB.

16   PB and IB have four daughters AB2, an adult, BB, an adult, DB (hereinafte r Barlow)3, an adult, and Jane Doe

17   #7 (JD#7), born in 2008, all of whom have since been acquired or taken as wives by Bateman. Moroni and

18   ZB have no daughters.

19           9.     Torrance Bistline (Torrance) is the owner of his own company.          Torrance developed the

20   VelociWrapper, an industrial machine for laying cable. Moroni works with Torrance manufacturing the

21   VelociWrapper. Torrance has never been married.

22

23
24               Most of the females who were juveniles at the time of the events described will be referred to as
     "Jane Doe," followed by a number for chronological reference. Most of the adults referenced herein will be
25   identified by their initials.
             2 JD#2 is now over the age of 18, although she was a minor when Bateman took her as a wife in
26   2020. JD#2 is Moretta Rose Johnson (Johnson), one of the subjects in the requested Complaint. Therefore,
27   she will be referenced hereinafter as Johnson.
             3 DB is Donnae Barlow, one of the subjects in the requested Complaint; therefore, she wi ll be
?~   referenced hereinafter as Barlow.
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1            10.     LaDell Bistline, Jr. (LaDell Jr.) is the owner of his own electrical and communications company.

2     LaDell Jr. has installed electric and communications equipment at the VelociWrapper office and warehouse.

3     LaDell Jr. was married to JB, but she has since been acquired or taken as a wife by Bateman. LaDell Jr. and

4     JB have two daughters, Jane Doe #8 (JD#8), born in 2009, and Jane Doe #9 (JD#9), born in 2011, both of
5     whom have been acquired or taken as wives by Bateman.
6            11.      Bateman never participated in the manufacturing of the VelociWrapper, and was not technically

7     employed by the business, but he did attend business meetings and sales meetings.
8            12.      LaDell Bistline, Sr. (LaDell, Sr.) is the father of LaDell, Jr., and Torrance. He describes

9 himself as an apostate, as he is not a follower of Bateman. LaDell, Sr. was married to MB, LB2 and DB2, all
10    of whom have since been taken as wives by Bateman. LaDell, Sr. and MB have three daughters: LB3, an

11    adult, SB, an adult, and Jane Doe # IO (JD# 10), born in 2006, all of whom have since been acquired or taken

12    as wives by Bateman. LaDell, Sr. and LB2 have one daughter, Jane Doe # 11 (JD# l l ), born in 2006, who has

13    since been acquired or taken by Bateman as a wife. LaDell, Sr. and DB2 have one daughter MB2, an adult,

14    who was with Bateman, but then left him.
15           13.      Much of the information in this Affidavit was provided by CM and TK. While not a FLDS

16    member or fo llower of Bateman, CM had gained Bateman's trust as someone who tried to help the members

17    oftheir community. Her husband, TK, was filming a documentary, and Bateman allowed TK to film him and
18    his wives and document many of their "testimonies." CM and TK were interviewed on July 6, 2022. They

19    provided the following information:

20                 a. They first met Bateman about fou r years ago when he was getting evicted from his home in

21                    Colorado City, Arizona. They said Bateman was very religious.

22                 b. The next time they saw Bateman, he was a broken man. Bateman said his wife at the time, LB,

23                    was accusing him of trying to sleep with his daughter, JD# l, born in 2005, on a trip home from .

24                    Canada.

25                 c. In about November or December 2020, Bateman drove to CM and TK's house in Colorado City, ·

26                    Arizona in a large SUV packed with women and girls. Bateman introduced everyone as his ·

27                    wives. The youngest of the girls was JD#9, born in 201 1.
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1                 d. TK said Bateman tried to be a successful businessman but had not had any success. His latest

2                    ventures were in real estate and in goal coaching.

3           14.      On November 23, 2020, LB4 (a .friend to JB2) called the Colorado City Marshall's Office

4    (CCMO) to report that Bateman was married to JB2's granddaughter, JD#8 (daughter of LaDell, Jr. and JB),

5    born in 2009, and was at the airport about an hour prior. CCMO met LaDell, Jr. at the Colorado City Airport.

6    LaDell, Jr. advised CCMO the stories were just rumors, and allowed CCMO to talk to his daughter, JD#8. •

7    JD#8 was asked if she had a relationship w ith Bateman. JD#8 appeared confused and denied a relationship

8    w ith Bateman. CCMO provided a copy of their report to me.

9           15.       On November 24, 2020, JB2 called CCMO directly and stated Bateman was married to another

10   one of her granddaughters (daughter ofLaDell, Jr. and JB), JD#9, born in 2011, and possibly his own daughte~,

11   JD# 1, born in 2005. As a result of this statement, JD# 1 was forensically interviewed. CCMO incorporated

12   this information in its reporting as well.
13           16.      Later on November 24, 2020, JB2 contacted the Iron County Sheriffs Office (ICSO) to report

14   Bateman and JB were kidnapping JB2's grandchildren.              ICSO stopped Bateman, detained him, and

15   interviewed all the adult occupants of the vehicle (including JB) and a parent of each minor occupant. The

16   parents each said their children were fine with Bateman. ICSO released Bateman. ICSO provided a copy of

17   their report to me.

18           17.      On December 10, 2020, JD#l, Bateman's daughter, born in 2005, was forensically interviewed

19   at the Child Justice Center in St. George, Utah. I have reviewed a video recording of this interview where

20   JD# l provided the fo llowing information :

21                 a. In approximately February 2019, Bateman took JD#l, her mother, LB, and her two brothers to

22                    Canada, where they spent a week before coming home.

23                 b. Later in February 2019, Bateman took JD# l and Johnson (previously referenced as JD#2), who

24                    was Moroni and JJ's daughter, born in 2003, up to Canada. They stayed in Canada for about

is                    two weeks. Bateman left Johnson in Canada w ith her father. Bateman and JD# 1 then started

26                    the drive home to Colorado City, Arizona.

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1          c. During the drive, Bateman asked JD# l if she had prayed about who she was going to marry.

2               JD#l said she had not because she was too young. Bateman told JD#l he felt like she was his

3               wife. JD#l was scared and did not say much the rest of the drive home.

4          d. Bateman told JD# l if his feelings were right, he would make her have a child.

5          e. When they stopped for a bathroom break, Bateman bought two big bags of Doritos and gave

6               them to JD#l, along with $50, like it was a bribe. Bateman asked her what kind of car she

 7              would want. Bateman also told JD#l he would take her on an airplane ride. Bateman had

 8              taken her mother, LB, on an airplane ride when he married her.

 9         f. Before arriving home, Bateman told JD#l not to tell her mother, LB, what he had said.

10         g. When they got home, Bateman told LB he had a good feeling JD#l was supposed to be his wife.

11              LB told Bateman that JD# I was not, and would never be, his wife. LB and JD# 1 moved out

12              of Bateman's house and LB got a restraining order against Bateman.

13         h. Bateman repeatedly asked JD#l to meet him outside of her house. One time, JD#l and her

14              little brothers went over to Bateman's house. Bateman gave her a hug and kiss in front of her

15              little brothers. Another time, Bateman gave her a "nasty" kiss. JD# 1 described the nasty kiss

16              as "slobbery."

17         i.   Bateman had given JD#l a cell phone so they could keep in touch. JD# l would text Bateman

18              and say "Hi." Bateman would text back "I love you," "I want to kiss you," and "I want to hug

19              you."   JD#l said the way Bateman kissed her and hugged her was "weird."              Bateman

20              constantly said he wanted to kiss and touch her.

21         j.   Bateman explained to JD# 1 what he meant when he said he wanted to touch her. He described

22              the body parts of a boy and girl, and said the names of those body parts (penis and vagina), and

23              how they are used to make a baby. Bateman said if his feelings were right, he would do what

24              a boy does to make JD#l have a baby.

25         k. JD#l also provided a "Journal of Events" where she documented the dates Bateman introduced

26              his new wives to JD# 1, including all the young girls he took as wives and called "mother." One

27              of those girls was JD#6, born in 2010, who she recalls seeing Bateman kissing and hugging on
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1                      a video call. Bateman told her he took the young girl with the full consent of her father (which .

2                      would be Moroni), and that JD#6 was JD#1 's new mother.

3          18.         LB was interviewed on July 27, 2022, and provided the following information:

4                 a. In 2019, Bateman became angry with LB because she did not believe he was a Prophet of the

5                      FLDS religion. Bateman told LB he was going to be a very important man.

6                 b. Bateman took their daughter, JD#l, born in 2005, to Canada. When Bateman got home,

7                      Bateman told LB he had an impression JD#l belonged to him, as his wife. Bateman told LB

8                      he felt inspired to have sexual relations with JD# 1.

9                 c. LB knows Bateman kissed JD# I, but does not believe Bateman had sex with JD# 1 because she

10                     is not that type of person. JD#l did not want Bateman to touch her.

11          19.        A request to Customs and Border Patrol, for border crossings for Bateman, revealed

12                a. On January 28, 2019, Bateman crossed from Canada into Idaho, at the Porthill Border Crossing,

13                     in a vehicle with Arizona license plate CCC2386. Occupants of the vehicle were Bateman,

14                     LB, JD#l, born in 2005 , John Doe #1 and John Doe #2.

15                b. On February 5, 2019, Bateman crossed into Canada.

16                c. On February 14, 2019, Bateman crossed from Canada into Idaho, at the Porthill Border

17                     Crossing, in a vehicle with Arizona license plate CLH2584. Occupants of the vehicle were

18                     Bateman and JD# 1.

19                d. On September 23, 2021, Bateman flew out of St. George, Utah to Cancun, Mexico. Bateman

20                     returned to St. George, Utah on September 25, 2021.

21                e. On February 17, 2022, Bateman flew out of Las Vegas, Nevada to Cancun, Mexico. Bateman

22                     returned to Las Vegas, Nevada on February 20, 2022.

23                f.   On June 22, 2022, Bateman flew out of St. George, Utah to Cancun, Mexico. Bateman returned

24                     to St. George, Utah on June 26, 2022.

25          20.        The investigation revealed that Bateman had been attending MasterMind conferences in ·

26   Cancun, Mexico. The next conference was scheduled for September 21 , 2022 (by which time Bateman had

27   already been taken into custody, as further described below).
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1           21.       CM reported to law enforcement in November 2021 that she had a recorded conversation with

2    Bateman and three of his wives (one of which was a minor), wherein they recounted the story of what they

3    called "the Atonement," which involved Bateman giving these three wives to his three male followers: LaDell,

4    Jr., Torrance, and Moroni. Bateman had one of the wives read from her journal about this incident, which

5 was on her phone. Bateman also allowed CM and TK to record Bateman and his wives in their homes,
6    capturing his wives s inging to him, and regaling stories, some read from their phones, while other wives sat

7    and recorded this event on their phones. The recordings taken by CM and TK at that time were turned over

 8 to local law enforcement.
9           22.       Eventually, CM was approached by JJ, w ife of Moroni Johnson, to express her concerns about

10 Bateman, and CM started recording their conversations. I reviewed a recorded conversation from July 28,
11   2022, between JJ and CM. The conversation revealed the following information:

12                 a. JJ stated Bateman required the women and girls to confess in public, in front ofthe other women

13                    and girls.

14                 b. When JJ's daughter, JD#3, born in 2006, was 14 or 15 years old, she expressed fears of having

15                    a baby to JJ. JJ believes JD#3 was concerned because Bateman was having sexual relations

16                    with her.

17          23.        I reviewed a recorded conversation from July 30, 2022, between JJ and CM. The conversation

18 revealed the following information:
19                 a. JJ said Bateman demanded everyone to make confessions. He encouraged the confessions to

20                     be as vulgar as possible. Bateman then distributed the confessions to a group email or text.

21                 b. Bateman assigned corrections that he claimed the Lord had made, as he chose. A correction is

22                     a punishment ranging from a short time out, a days' long time out, or a public shaming. He

23                     blasted the corrections out to all the family members either by group email or text.

24           24.       JJ agreed to be interviewed by me on August 5, 2022, and provided the following information:

25                 a. Bateman required all the money made by the women to be given to him. JJ has provided her

26                     money to Bateman once.

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1           b. Moroni used his paychecks to provide for the girls and the babies. He purchased diapers,

2                 formu la, household products and personal care items.

3           c. Bateman did not have a job.

4           d. The first wife Bateman took was MJ. After he took MJ, Bateman took SJ to be his wife. These

5                 were both young adult daughters of Moroni and JJ. MJ and SJ were both living in Lincoln,

6                 Nebraska, before they were taken by Bateman back to Colorado City, Arizona. They both

7                 eventually had children with Bateman.

 8          e. Bateman, MJ, and SJ returned to Lincoln in May 2020. Bateman read some revelations and

9                 commanded Moroni to give him, JD#6, one of his daughters with wife, AB, born in 2010, as

10                Bateman's wife. Moroni expressed great anguish and was under extreme stress over having to

11                give his youngest daughter to Bateman. Bateman took JD#6 as a wife and returned to Colorado

12                City, Arizona in May 2020. JJ believes JD#6 has slept with Bateman because the other girls

13                called JJ to see how to deal with JD#6' s bed wetting. MJ and SJ said Bateman was disgusted

14                when JD#6 would wet on him.

15          f.    Bateman returned to Lincoln, Nebraska, and pressured Moroni to give up his own wives, AB,

16                BB, and DB (Barlow), as an atonement for Moroni not treating Bateman as a Prophet should be

17                treated. They went to Bateman weeping. Although JJ referred to BB and Barlow as Moroni's

18                wives, they are the young adult daughters of PB and IB, and because PB was a wife of Moroni

19                at the time, they were all residing together. According to JJ, Moroni had taken the girls as

20                wives before they were given to Bateman.

21          g. Bateman also took Johnson (formerly referenced as JD#2), another daughter of Moroni and JJ,

22                born in 2003, as his wife. Johnson had a baby in 2021, seven months after she turned 18

23                (meaning she almost certainly conceived when she was 17).

24           h. Bateman sent BB, Barlow (formerly referenced as DB), and Johnson back to Colorado City,

25                Arizona. They arrived in Arizona on July 4, 2020.

26           1.   In August 2020, Bateman took JD#3, born in 2006, as his wife. JD#3 was expecting to be
27                taken by Bateman but did not want to go with him. JD#3 is also a daughter of Moroni and JJ.
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1          J.   After Bateman took JD#3, he took JD#S, a daughter of Moroni with AB, born in 2007.

2          k. Bateman next took JD#4, born in 2009, the last daughter of Moroni and JJ. JD#4 went silent

3               after Bateman took her as a wife. JJ tried to comfort JD#4 and said she could tell Bateman she

4               didn't want to be with him . JJ allowed JD#4 to sleep in the room with JJ but Bateman made

5               JD#4 s leep in his room with him and rebuked JJ for hindering JD#4 from her Godly duties.

6          I.   Bateman took JD#7, daughter of PB and IB, born in 2008, as his wife. Again, because PB was

7               married to Moroni at the time, JD#7 was living with them (as were all of Moroni's wives and

8               children before Bateman began taking them). PB became one of Bateman's wives after JD#7.

9          m. Sometime in between, Bateman also took AB2 as his wife. AB2 is the adult daughter of PB

10              and IB, and has since had a baby with Bateman.

11         n. While in Lincoln, Nebraska, Bateman directed Moroni to call JJ and have her bring BB and MJ

12              to a local motel. BB, Barlow, AB2 and JD#7 (born in 2008) are all sisters. MJ is the adult

13              daughter of Moroni, and has a baby with Bateman. Bateman and Moroni were lying naked on

14              the two beds. Bateman had the three ladies take off their clothes and join the men. Bateman

15              talked about Father Adam and Mother Eve and how in Heaven people watched them engage in

16              sexual acts. Bateman had Moroni and JJ have sex in front of BB and MJ (Moroni and JJ' s

17              daughter) to teach them how to better pleasure Bateman. Bateman said before the women

18              arrived at the motel, Bateman had Moroni perform oral sex on Bateman to make Moroni

19              eternally bonded to Bateman.

20          o. After several months in Lincoln, Nebraska, in November 2020, Bateman had a revelation he

21              should go back to Colorado City. On this trip, Bateman called JJ and told her ZB (one of

22              Moroni's w ives and adult daughter to PB and IB) had been given to LaDell, Jr. to sexually

23              comfort him because JB (LaDell, Jr.' s w ife) had gone to Bateman to be his wife. Bateman told

24              JJ he had first sent JD#3 and Johnson (formerly referenced as JD#2), both daughters of JJ and ·

25              Moroni, and both minors at the time, to sexually comfort LaDell, Jr.

26          p. In November 2020, Bateman traveled to Cedar City, Utah, with Johsnon, born in 2003. On

27              this trip, as mentioned above, Bateman was detained by the police related to a kidnapping report. ·
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1                   JB2 reported that Bateman had kidnapped her grandchildren, JD#9, born in 2011, and JD#8,

2                   born in 2009. Bateman was released when JB, the mother of JD#9 and JD#8, told Sheriffs

3                   Officers she was going to marry Bateman and she and the girls were there of their own free will.

4                   Sheriffs Officers contacted JJ because her daughter, Johnson (JD#2 at the time), was in the

5                   vehicle with Bateman. JJ told Sherif-rs Officers she knew her daughter was with Bateman and

6                   that she was not in danger. She explained she only said that at the time because she was fearful

7                   of repercussions for the girls if she said otherwise.

8              q. On November 25, 2020, Bateman, while traveling back to Lincoln, had a group video call from

9                   a motel room located in Green River, Utah. Everyone in the motel room was naked, to include:

10                  Bateman, NB (another young adult wife of Bateman; hereinafter referenced as Bistline)4,

11                  Moroni, Moroni's minor daughters, JD#2 and JD#3, JB and ZB. On the video call, Bateman

12                  had Moroni explain to JJ and PB that he (Moroni) was to have sexual intercourse with JB

13                  (Bateman's wife taken from LaDell, Jr.), while Bateman had sexual intercourse with ZB (wife

14                  of Moroni).     Bistline (formerly NB), and Moroni 's minor daughters, Johnson (formerly

15                  referenced as JD#2) and JD#3, were in the motel room and were made to watch. JJ and PB

16                  (Moroni's wives), and Moroni's daughters, MJ and JD#6 (born in 2010), were commanded by

17                  Bateman to watch on the video call from Lincoln, Nebraska. JD# 8 and JD#9, both minors,

18                  were in a different motel room.

19             r.   In December 2020, in Lincoln, Nebraska, Bateman gathered the following people in a motel

20                  room: Moroni, LaDell, Jr., Moroni's wives, JJ and PB, BB, Moroni's and JJ's daughters, MJ

21                  and Johnson (born in 2003; therefore, she was still JD#2 at the time), and Moroni's daughter

22                  with AB, JD#5, born in 2007. Bateman said he needed to perform the washing of feet on hi~

23                  brothers, like the Savior did on His Apostles. T he men were all naked. The ladies and girls •

24                  were there as witnesses. After the washing of the feet, Bateman said he was going to be with ·

25                  Moroni sexually to finalize the binding of brothers and sealing men to men. Bateman could

26                  not get an erection. Bateman verbally abused the women and girls for not exerting their faith

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            4 NB is Naomi Bistline, one of the subjects in the requested Complaint; therefore, she will be
n    hereinafter referenced as Bistline.
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1               to help Bateman execute this act. Bateman had BB, MJ, Johnson (a minor at the time) and

2               JD#5 stroke his penis with their hands to help him get an erection. JD#5 appeared to be very

3               familiar with how to help Bateman get an erection. In a later inter~iew with JJ, she corrected

4               the timing of this incident. After finding an old text message, she confirmed this happened on

5               November 9, 2020.

6          s. In late December 2020, after December 20th but before January 1st, Bateman decided he needed

7               to complete the Binding of Brothers act. At Bateman's direction, the fo llowing people went to

8               a motel room: Bateman, BB, Barlow (DB), Moroni and JJ's daughters, MJ and Johnson (a minor

9               at the time), Moroni, JJ, ZB, LaDell, Jr., and GB, who was now LaDell, Jr.'s wife. JJ believed

10              JD#5 was also at the motel but was not positive at the time of her first interview. JJ described

11              everyone was naked.     Bateman brought wine and drank it despite the FLDS religion not

12              condoning the consumption of alcohol. BB, Barlow, MJ and Johnson (a minor at the time)

13              stroked Bateman's penis to help him achieve an erection. Bateman engaged in anal sex with

14              Moroni. Bateman spent the night in one of the beds w ith BB, Barlow, MJ and Johnson. In a

15              later interview with JJ, she said she was positive JD#5 was involved in this incident.        JJ

16              confirmed JD#5 also stroked Bateman's penis to help him achieve an erection. JJ recalled after

17              the sex acts, JD#5 was sitting on the edge of the queen-sized bed where Bateman, BB, Barlow,

18              MJ and Johnson were sleeping. JJ provided JD#5 a blanket from her bed.

19         t.   Bateman told JJ he had Torrance be with JD#7, born in 2008, putting his penis into her anus.

20              Bateman also had Moroni be w ith LB2 sexually, and LaDell, Jr., with Bistline (formerly

21              referenced as NB). Bateman said he watched these sexual acts. Bateman made the men do

22              these sexual acts as an atonement for their wicked deeds. JJ thought this occurred around

23              Colorado City, Arizona, possibly in a nearby motel. JJ knew this incident was referred to as

24              the "Atonement." Investigation has revealed there are no motels in Colorado City, Arizona.

25              The closest motel in Arizona is a lmost two hours away in Page, Arizona. There are a few

26              motels in Hilldale, Utah, and multiple motels in Utah within a 45-minute drive of Colorado

27              City, Arizona.
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1             u. JJ learned that Bateman required the women and girls to remove their traditional long

2                   underwear, worn to protect their bodies and virtue, after they engaged in sexual acts, with or in

3                   front of Bateman. Bateman said since they were now of purity and obedience, they did not

4                   need the protection of long underwear. JJ did the laundry in the house and all the girls had

5                   gotten rid of their long underwear, including the girls under the age of 15. The girls started

6                   wearing red, lacy under-pants.

7                v. JJ has witnessed Bateman recording the testimonies of the girls. A testimony is a public

8                   recounting of a religious conversion or experience.       It is a personal revelation from the
9                   Heavenly Father, revealing the truthfulness of the gospel of the Prophet.        One testimony

10                  Bateman recorded was JD#6, born in 2010, talking about her experience before Bateman took

11                  her as his wife. Bateman would call her "Mother [JD#6 first name]." After several times of

12                  being called that, she told Bateman, "I am not Mother [JD#6 first name]." Bateman replied

13                  she will be called on by God to be a mother.

14               w. JJ has witnessed Bateman, when the girls would ride in the front seat of the vehicle, reach over

15                  and touch their breasts. Specifically, Bateman touched the breasts of her daughter, JD#4 (born

16                  in 2009). Bateman would also reach over and touch the girls on their thighs. The girls were

17                  also required to touch Bateman.

18               x. Before Bateman's arrest (discussed below), he had demanded the mothers get passports for

19                  themselves and all their children.

20               y. JJ knows most of the girls kept journals.

21         25.      On or about November 13, 2021, Bistline gave a testimony, or statement, of how she became

22   one of Bateman's wives. This testimony was recorded by TK, and is summarized as fo llows:

23               a. LaDell, Jr. had been the caretaker for Bistline (formerly referenced as NB). LaDell, Jr. and

24                   Bistline are cousins.

25               b. Bistline referred to notes stored on her cell phone as she gave her testimony.

26               c. Bistline first met Bateman on November 9, 2019.

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1                 d. On January 11, 2020, Bateman, who was in Lincoln, Nebraska, called Bistline to tell her she

2                      belonged in his family.

3                 e. Bistline married Bateman on November 8, 2020. Bistline said she was wife number 13.

4                 f.   Bistline, LaDell, Jr., JB, JD#8, born in 2009, and JD#9, born in 2011, left Short Creek (Colorado

5                      City, Arizona and Hilldale, Utah) for Lincoln, Nebraska on November 7, 2020.

6          26.         On or about November 13, 2021, JB gave a testimony, which was recorded by TK, as follows:

7                 a. JB was married to LaDel l, Jr.

8                 b. In August 2020, LaDell, Jr. wanted his then wife, JB, and their daughters, JD#8 (born in 2009)

9                      and JD#9 (born in 2011), to go with him and Bateman to Lincoln, Nebraska. JB did not want

10                     to go to Lincoln. JD#9 wanted to go but not without her mother, JB. JB eventually agreed.

11                c. On the night of November 6, 2020, JB's daughter did not come home. The next morning, JB

12                     felt compelled to message Bateman and not LaDell, Jr. Bateman told JB she belonged to him.

13                     This was the same day Bistline had learned she belonged to Bateman. Heavenly Father took

14                     the affections JB had for LaDell, Jr. for over 20 years and placed those affections on Bateman.

15          27.        Bateman invited CM and TK to his house in November 2021 . TK was allowed to video record

16 the women and girls telling stories, reading from their journals on their phones and singing to Bateman. TK

17   used his cell phone to make the recordings. He recorded nine videos and three audios.

18          28.        I have reviewed an audio recording, recorded on November 10, 2021, involving Bateman, CM,

19   TK, Bistline, LB2 and JD#7, born in 2008. The recording was made while CM and TK were being driven by

20   Bateman in one of the two Bentleys he drives, from his home to CM and TK's home. In this recording,

21   Bateman stated:

22                a. Up on the mountain, a couple of years ago, Uncle Warren (Warren Jeffs, the latest Prophet of

23                     the FLDS), told me, in a vision, to invoke the Spirit of God on these people.

24                b. He had impressions from the Heavenly Father that he said he must obey.

25                c. Last Monday (November 1, 2021 ), the Heavenly Father told Bateman to give the most precious

26                     thing he has, his girls' virtue, to those "wicked bastards:" LaDell, Jr., Moroni and Torrance.

27                     The Heavenly Father said to have LB2 be with Moroni, to "screw" her, and Bateman should be
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1                     there watching. The Heavenly Father also told Bateman to have Torrance be with JD#7, 12-

2                     years-old at the time, and to have LaDell, Jr. be with Bistline, and Bateman should be there

3                     watching. Bateman said the girls were not committing "adultery;" it was obedience. Bateman

4                     said the girls were not unclean.    Bateman told the girls to testify there was no darkness,

5                     adultery, or guilt in his actions. The girls, who were crying on the recording, said they hurt but

6                     there was not darkness.     Bateman said the girls have sacrificed their virtue for the Lord.

7                     Bateman said "God will fix their bodies and put the membrane back in their body. I've never

8                     had more confidence in doing his will. It's all out of love." The girls ended with "it's a

9                     privilege to hurt for someone else so they can rise."

10                 d. Bateman read aloud Bistline's account of the atonement from her journal, stored on her cell

11                    phone.

12           29.      Bateman allowed TK to record him and his wives at their home in November 2021. I have

13 reviewed a video recording recorded by TK, in which Bistline read from her phone about the day Bateman
14 gave several of his w ives, including Moroni's daughters, JD#3 (born in 2006) and Johnson (formerly referenced
15    as JD#2, born in 2003), to LaDell, Jr. Bistline was to be given to LaDell, Jr. after GB, but GB was in Cedar

16 City, Utah.
17           30.      In another video, recorded by TK, JB stated the following:

18                 a. JB's mother, JB2, reported Bateman and JB for kidnapping JB2's granddaughters (as referenced

19                    above).

20                 b. The Sheriffs Deputies detained Bateman and questioned everyone in the vehicle.

21                 c. JB stated, "Heavenly Father has the right to do anything he wants."

22                 d. JD#3 is seen on the video holding her cell phone as ifrecording JB's story.

23           31.      The Iron County Sheriffs Department report (also referenced above) indicates Bateman was

24    detained on November 24, 2020, near Cedar City, Utah, for a reported kidnapping. In the vehicle with

25    Bateman were JB, her daughters, JD#9 (born in 2011) and JD#8 (born in 2009), Moroni and JJ's daughter,

26    Johnson (a minor at the time), and Bistline. JB told the Sheriffs Deputies she was going to marry Bateman

27    and everyone was there of their own free will.
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1           32.       I have reviewed another video recording, recorded by TK, in which TK and CM asked if all the

2    girls kept diaries. SJ said she did. Many of the girls said they try to keep a journal and Bistline said she kept

3    a journal, which caused the other girls to giggle and say Bistline was the most consistent journal writer. A

4 few girls were holding cell phones as if they were recording the interaction.
5           33.       I have reviewed a video, recorded by TK, in which JD#3, born in 2006, stated the following:
6                  a. JD#3 said she was married to Bateman.

7                  b. JD#3 said this was the week the police were at the airport because people reported Bateman was

8                     married to JD#8, born in 2009 (as referenced above).

9                  c. Bateman gave JD#3 to LaDell, Jr. JD#3 said the Prophet would not normally give his wives

10                    to a man he has authority over, but this was Heavenly Father's will. Bateman had authority

11                    over LaDell, Jr. and Moroni.
12                 d. On the video, JD#3 can be seen checking her phone for a detail. She said she wrote down the

13                    story on her phone so she could remember.

14                 e. JD#3 said the girls choose to obey Heavenly Father.

15          34.       The Colorado City Marshals Office (CCMO) report (as referenced above) indicates Bateman

16   was reported to be married to JD#8, one of LaDell, Jr.'s daughters, born in 2009, and was last seen at the

17 Colorado City Municipal Airport. CCMO contacted LaDell, Jr. and met him at the airport along with JD#8.
18   LaDell, Jr. advised any allegations of a relationship between Bateman and JD#8 were just rumors. CCMO

19   also asked JD#8, who denied any relationship with Bateman.

20           35.      In one of the recordings, recorded by TK in November 2021, a female stated her phone was

21   dying and asked if anyone else had a voice recorder on their phone.

22           36.      CM was interviewed on July 27, 2022. CM provided the following information:

23                 a. Bateman recorded testimonies of his followers, including men, women and children. He kept

24                     the recorded testimonies in his care.

25                 b. Bateman utilized Signal, a messaging application on his cellular telephone, for most of his text .

26                     communication with his wives and followers.

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1                 c. Bateman, his wives, and children resided at 185 Colvin St., Colorado City, Arizona, also known

2                    as "the green house," and also known as "Roy's." The property also housed a cream-colored

3                    camper trailer, which Bateman used for camping with his wives, a white box trailer, a red

4                    shipping container used for storage, and an office style trailer used as the sewing room.

5                 d. The men of the group, including Moroni and LaDell, Jr., and select women who were being

6                    corrected, including JJ, DB2 and MB2, lived at 185 Garden Ave., Colorado City, Arizona, also .

7                    known as "the blue house," and also known as "John's." This house was also used for storage

8                    for the wives because there was no extra room at the green house. There were two office style

9                    trailers on the property. Truston and Sky Bistline, sons to LaDell, Sr. and MB, each lived in a

10                   trailer. There was also a storage shed on the property.

11                e. Bateman maintained what he referred to as an office in a warehouse previously used to build

12                    the VelociWrapper, an industrial product developed by Torrance and manufactured by Moroni.

13                    The warehouse is located at 260 W. Johnson Ave., Colorado City, Arizona. Torrance and

14                    Moroni no longer use this location for their business. Bateman told CM he used this office for

15                    his "work" because he couldn't get a moment of peace at home. However, because Bateman

16                    did not work, and was not officially involved in the VelociWrapper business, there was no

17                    reason to believe this location is a place of legitimate business.

18          37.       On August 28, 2022, Bateman was arrested by Arizona Department of Public Safety (AZ DPS)

19   for child endangerment. Bateman was pulled over because he was towing a box trailer with at least three

20   minor females riding unsecured in the trailer. AZ DPS seized Bateman's cellular telephone as evidence.

21          38.       On August 28, 2022, Bateman made a telephone call from jail to Torrance. In that telephone

22   call, Bateman told Torrance to delete his Signal account. Bateman also said he needed to buy the house he

23   had under contract, but he did not have the money. In a second telephone call to Torrance, Bateman reiterated

24   his request about Signal and asked Torrance to tell MB to do it. In the next call, Bateman called his wives

25   (including the young girls) and instructed: "tell Brenda to delete my Signal account now, the whole thing,

26   delete every message, right now." He told them multiple times on the call to do this. They agreed to do so

27   and told him they were trying. They sang to Bateman on the call and told him they loved him and needed
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 1    him. They also discussed how it was 16 years ago to the day when Uncle Warren (Warren Jeffs) was arrested,

2     and that they would "deliver the Prophet." The girls can be heard crying oh the recording. Bateman was

3     very upset AZ DPS took his phone as evidence.

4            39.    According to CM, Bateman's wives attempted to delete Bateman's Signal account after the call

5     and then deleted their own. A search warrant for Bateman's phone was obtained on August 30, 2022, signed

6     by Magistrate Judge Camille D. Bibles in Flagstaff (Case No. 22-04327MB).

7            40.    The family bailed Bateman out of custody on September 1, 2021, and on the drive back,

 8    Bateman asked TK how he could factory reset his cell phone at home or through the provider. According to

 9    CM, the wives picked up a shredder from the "blue house," and she assumed the wives were shredding their

10 journals.

11           41.     On September 6, 2022, Bateman was indicted on one count of Destruction of Records in an

12    Official Proceeding, one count Tampering with an Official Proceeding, and one count Destruction of Records

13    in a Federal Investigation in CR-22-08092-PCT-DGC (ESW).

14           42.     On September 13, 2022, Bateman was arrested in Colorado City, AZ on his federal arrest
15    warrant. Additionally, three search warrants were served at the "green house," the "blue house" and the

16    warehouse (all separately referenced above). Bateman is currently in federal custody at Core Civic/CAFCC

17    (Central Arizona Florence Correctional Complex) in Florence, Arizona.

18           43.     On September 14, 2022, nine minor females were taken into Arizona Department of Child

19    Services (AZ DCS) custody: JD#3, JD#4, JD#5, JD#6, JD#7, JD#8, JD#9, JD#l 0, and JD#l 1. They were all

20    forensically interviewed and then placed in group homes pending dependency proceedings. None of the girls
21    disclosed actual sexual abuse by Bateman, although at least one admitted being present and partially nude for

22    one of the sex orgies detailed above.

23           44.     I have reviewed a number of the journals seized during the search warrants, and there are details

24    referenced by several of the girls about sleeping with Bateman, kissing him, and touching him. Additional

25    forensic interviews were scheduled for those five girls; however, it is believed that some of the older girls were

26    influencing the younger girls not to talk about Bateman. Therefore, the girls refused to participate in the

27    forensic interviews, except JD#7, who told the interviewer: "I can't talk to you." To avoid undue influence,
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1 the girls were further separated from one another and kept together only with their siblings in their group
2 homes.
3            45.      Before Thanksgiving 2022, information was received through AZ DCS that JD#4 disclosed

4     sexual abuse by Bateman while in the group home.

5            46.      On November 27, 2022, eight of the nine minor females ran away from the DCS group homes

6 where they were staying. JD#6 was the only girl who did not escape from the DCS group home.
7            47.      Local law enforcement seized some of the journals left behind by the girls and some of the
 8    electronics they may have been using. It appears they were still in a group chat with some of the adult wives

9 of Bateman using Signal, and that they were emailing one another. In fact, the group chat indicates all of the
10    participants had changed their last names to "Rappy lee Bateman." Most of their communications were not

11    digitally stored. However, there were journal references left behind indicating "today is the day we go home."

12           48.      On November 27, 2022 at approximately 8:38 p.m., Bateman made a recorded video call from

13    CCAFC to Donnae Barlow (Barlow). I reviewed a recording of this video which is described as follows:

14                 a. Barlow is driving a vehicle and Naomi Bistline (Bistline) is in the passenger seat. Bistline is

15                    holding the cellular device and tells Bateman they have two of the girls she references by code

16                    as: "El and E2." Later in the video Bistline tells Bateman all the wives changed their names

17                    to (First Name) Rappylee Bateman. Bateman states "I am in holy fucking love with you Naomi

18                    Rappylee, and Marilyn Rappylee (Marilyn is the code name used by Donnae Barlow), and

19                    [JD#9 first name] Rappylee, and [JD#8 first name] Rappylee."

20           49.      On November 28, 2022, at approximately 7:39 am, Bateman made a video call from CAFCC to

21    Bistline. I reviewed a recording of this video which can be described as follows:

22                 a. Bateman is communicating with Bistline, who is in what appears to in a hotel room. Bateman

23                     asked if"W2" (code for JD#6) was not with them. Bistline said she was the only one (not with

24                    them) but that they tried.    She mentions the cops were called so they ran for their lives.

25                     Bateman asked who is with you. Bistline responds "all of Coco," except W2, and then there is

26                    "Lilly" (or "Millie")S and Marilyn here (Barlow). Throughout the video call, the camera pans

27
')R          s     Lilly and Millie are both code names for some of the girls.
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1                    from Bistline to Barlow, JD#3, JD#4, JD#5, JD#7, JD#8, JD#9, JD#l0 and JD#l l. Bateman

2                    said "Get that girl, she needs to be with you. Does she have a phone number? So she can call

3                    someone?" He tells the girls how much he needs them, and how it puts pressure on him when

4                    they are scattered and that he needs everyone to be together.

5             b. There are numerous video calls made by Bateman to Bistline and the girls. Bateman asks

6                    during one of the calls if they are in "our state" and they say they are not. They tell Bateman

7                    only the mothers are in Arizona headed to New Mexico with the babies, and that they drove all

8                    night.
9                 c. During the calls to Bistline and Barlow between November 27 and November 29, 2022, they

10                   are clearly including other individuals on the calls via facetime or through other electronic

11                   devices, as other females can be heard talking through the phone, and Bateman is heard

12                   identifying individuals who are not present with Bistline and Barlow. In fact, he often asks "is

13                   everybody on?" Therefore, it is clear from these calls that Bateman and many of his wives,

14                   along w ith the minor girls, are communicating during this time period.
15                d. On November 28, 2022, Bateman is also making video calls to Moretta Rose Johnson, who is

16                   in a hotel room with her baby and at least one other adult w ife of Bateman. They talk about

17                   being a long way away, and Johnson tells Bateman it felt like he was with them "last night" and

18                   "it felt like you were driving." She tells Bateman: "we are helping you."

19                e. The females on the calls throughout this time period are clearly talking about being on the move

20                   as they talk. It is believed they were traveling in at least three separate groups. During one

21                   call on the evening of November 28, 2022, one of the women tells Bateman about cleaning one

22                   of the vehicles and being able to "swap."

23          50.      After the girls escaped, the FBI received information that Torrance Bistline's credit cards,

24   including a business card for VelociWrapper, had been used to purchase an Airbnb. On November 28, 2022,

25   an emergency disclosure request was made to Airbnb to provide addresses reserved by Torrance Bistline or

26   any associated accounts, as he had previously booked houses for members of the group.

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1           51.     Airbnb first provided an address in Mesa on the morning of November 29, 2022, and later that

2    day, an address in Utah. On November 30, 2022, Airbnb provided an address in Spokane, Washington, for a

3    new reservation made for November 29, 2022, through December 2, 2022.

4           52.     Spokane Sheriffs Department (SSD) was requested to conduct a knock and talk at the provided

5    Airbnb address. On December 1, 2022, the occupants did not answer the door. Shortly thereafter, SSD Sgt.
6 Satake witnessed a vehicle departing the house and made contact with the occupants of the vehicle. Sgt.
7    Satake identified all eight of the missing girls (JD#3, JD#4, JD#5, JD#7, JD#8, JD#9, JD#l0, and JD# l l ) in a

8    vehicle driven by Moretta Rose Johnson (Johnson).

9                                                     CONCLUSION

10          Based on the foregoing, your affiant respectfully submits there is probable cause to believe that on or

11   between November 27, 2022 and December 1, 2022, Naomi Bistline, Donnae Barlow, and Moretta Rose

12   Johnson, with aiders and abettors, have committed or conspired to commit obstruction of justice by tampering

13   with an official proceeding, or attempting to do so, in violation of Title 18, United States Code, Sections

14   1512(c)(2) and (k), and 2; and kidnapping, in violation of Title 18, United States Code, Sections 120l(a)(l),

15   (b), and (c), and 2.

16                                                   Respectfully submitted

17

18
                                                     Dawn A Martin
19                                                   Special Agent
20                                                   Federal Bureau oflnvestigation

21
     Subscribed and sworn before me this 1st          of December, 2022. telephonically.
22
                        Digitally signed by
23   Camille            Camille D. Bibles
                        Date: 2022.1 2.01
24   D. Bibles          18:16:35 -07'00'

25    Hon. Camille D. Bibles
      United States Magistrate Judge
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